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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

  UNITED STATES OF AMERICA,                           )      CASE NO.: 1:23CR00639-001
                                                      )
                           Plaintiff,                 )      JUDGE PAMELA A. BARKER
                                                      )
            vs.                                       )
                                                      )
  ANTON WOODLEY,                                      )      DEFENDANT’S SENTENCING
                                                      )      MEMORANDUM
                           Defendant.                 )

       Now comes Defendant Anton Woodley, by and through his undersigned counsel Marisa L.

Serrat, and respectfully requests this Honorable Court to consider a sentence sufficient, but not

greater than necessary, to comply with the purposes of 18 U.S.C. § 3553. Mr. Woodley respectfully

requests this Honorable Court to consider his difficult childhood, youthfulness at the time of the

offense, acceptance of responsibility, lack of any prior sentence of imprisonment, and sincere

remorse when imposing a reasonable sentence. Mr. Woodley respectfully requests this Honorable

Court to impose a 2-level downward variance pursuant to § 3553(a) given his youthful age at the

time of the offense and determine that a criminal history category of one (I) more accurately

reflects his criminal history at the time of the offense. Mr. Woodley respectfully requests this Court

to impose a sentence consistent with the JSIN sentencing data for an offense level of twenty-six

(26) and criminal history category of one (I), between 54 and 57 months imprisonment. A more

thorough explanation of this request is set forth in the attached Memorandum in Support,

incorporated herein by reference.

                                                          Respectfully Submitted,

                                                          s/ Marisa L. Serrat_________
                                                          JAIME P. SERRAT LLC
                                                          Marisa L. Serrat, (#0088840)
                                                          Attorney for the Defendant

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                                 MEMORANDUM IN SUPPORT

I.     PROCEDURAL BACKGROUND.

       On December 6, 2023, Anton Woodley, along with his older brother Cashaun Woodley

and Lavontay Johnson were named in a 2-count Indictment filed in the Northern District of Ohio.

On April 1, 2025, Mr. Woodley plead guilty to Count 1 of the Indictment pursuant to a written

Rule 11(c)(1)(A) plea agreement. Count 1 charged the offense of Carjacking on December 12,

2021, in violation of 18 U.S.C. § 2119(1). Upon sentencing, the government will move to dismiss

Count 2. Under the terms of the plea agreement, each party is free to recommend whatever sentence

it believes to be appropriate.

       Mr. Woodley was detained from the date of his arraignment on December 20, 2023 until

his release from custody on February 16, 2024. He has also been held in federal custody since

April 1, 2025. Mr. Woodley has served approximately five (5) months in pretrial detention and

respectfully requests credit for the time he has served.

II.    GUIDELINE DETERMINATION.

       The parties agreed that Mr. Woodley’s base offense level was twenty (20) pursuant to

USSG §2B3.1(a). The parties further agreed to the application of three enhancements, making his

adjusted offense level thirty-one (31). That offense level is reduced by 3-levels because Mr.

Woodley timely accepted responsibility for his actions and plead guilty. His adjusted base offense

level is twenty-eight (28), which is consistent with the parties written plea agreement.

       Mr. Woodley received one (1) criminal history point for an April 23, 2021 offense of

possessing cocaine and improperly handling a firearm in a motor vehicle when he was eighteen

(18) years old. Mr. Woodley was sentenced to community control. Mr. Woodley received one (1)

additional criminal history point for the misdemeanor offense of theft on September 19, 2024, of



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which he received a sentence of six (6) months’ probation. As a result, Mr. Woodley has two (2)

criminal history points, corresponding to a criminal history category of two (II).

          Based upon a total offense level of twenty-eight (28) and a criminal history category of

two (II) the guideline imprisonment range in Mr. Woodley’s presentence report is 87 to 108 months

imprisonment. (PSR, R. 125, PID 667). The parties have no agreement about the criminal history

category to be used in this case in the written plea agreement.

    II.      DOWNWARD VARIANCE PURSUANT TO §3553(A) GIVEN THE
             DEFENDANT’S YOUTHFULNESS AT THE TIME OF THE OFFENSE.

          Mr. Woodley was only eighteen (18) years old at the time he committed this instant offense.

In the presentence report, U.S. Probation stated: “The probation officer has identified the following

as potential grounds for a departure from the applicable sentencing guideline provisions: USSG

§5H1.1: Age (Youthful Individuals).” (PSR, R. 125, PID 671). In September 2023, the Sentencing

Commission conducted an examination of the treatment of youthful offenders as one of its policy

priorities for 2024.1 Research has shown that brain development continues until the mid-20s on

average, potentially contributing to impulsive actions and reward-seeking behavior.2 The new

amendment states that youthful individuals generally are more impulsive, risk-seeking, and

susceptible to outside influence as their brains continue to develop into young adulthood. Youthful

individuals also are more amenable to rehabilitation.

          Mr. Woodley respectfully requests this Honorable Court to consider his youthful age at the

time of the offense, combined with the lack of any prior term of imprisonment or prior involvement




1
  U.S. Sent’g Comm’n, “Notice of Final Priorities,” 88 FR 60536 (Sept. 1, 2023).
2
  See, e.g., U.S. SENT’G COMM’N, YOUTHFUL OFFENDERS IN THE FEDERAL SYSTEM 6–7 (2017); Daniel
Romer et al., Beyond Stereotypes of Adolescent Risk Taking: Placing the Adolescent Brain in Developmental
Context, 27 DEVELOPMENTAL COGNITIVE NEUROSCIENCE 19 (2017); Laurence Steinberg & Grace
Icenogle, Using Developmental Science to Distinguish Adolescents and Adults Under the Law, 1 ANN. REV.
DEVELOPMENTAL PSYCH. 21 (2019).

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in similar acts when evaluating the §3553(a) factors and the need to impose a sentence that is

sufficient, but not greater than necessary to achieve the statutory goals of sentencing. Mr. Woodley

was more susceptible to outside influence due to his age and his actions of not committing a similar

offense before or after this incident further shows he is more amenable to rehabilitation.

          With a 2-level downward variance, Mr. Woodley’s offense level would be twenty-six (26),

criminal history category of two (II), corresponding to a guideline range of 63 to 78 months. This

range of five to six and a half years imprisonment still renders a very significant penalty for his

conduct here, while also taking into account his youthful age at the time of the offense.

   III.      OVERSTATEMENT OF CRIMINAL HISTORY.

          The defense respectfully requests this Court to find that a criminal history category of one

(I) more accurately represents Mr. Woodley’s criminal history category at the time of his offense.

In accordance with USSG § 1B1.1., a sentencing judge is "entitled to rely on 'any ... policy

statement[ ] or commentary in the guidelines that might warrant consideration in imposing

sentence.” A criminal history category of two (II) over-represents the seriousness of Mr.

Woodley’s criminal history given the nature of his prior youthful convictions that resulted in minor

sanctions of community control, combined with the history and characteristics of the defendant

pursuant to § 3553(a) factors argued herein. He has no history of committing a similar offense in

the past. During the two (2) years between the underlying offense and the defendant’s arrest, he

did not commit any other offenses of similar nature. He is facing a very serious sentence for his

conduct in this case and has indicated that he will never engage in conduct like this ever again.

Based upon the foregoing, the defense respectfully requests this Honorable Court to use a criminal

history category of one (I) at sentencing.




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       IV.      THE NEED TO AVOID UNWARRANTED SENTENCE DISPARITIES
                AMONG DEFENDANTS WITH SIMILAR RECORDS WHO HAVE BEEN
                FOUND GUILTY OF SIMILAR CONDUCT.

             The presentence report states that in accordance with 18 U.S.C. § 3553(a)(6), the Court

should consider the need to avoid unwarranted sentence disparities among defendants with similar

records who have been found guilty of similar conduct. The U.S. Sentencing Commission

compiles and publishes Judiciary Sentencing Information (“JSIN”) data during the last five fiscal

years (2020 - 2024).3

             For Defendants whose primary guideline was USSG §2B3.1 the average sentences

imposed nationwide during the last five (5) years were:

    Offense Level        Criminal History    Average Length      Median Length      Guideline
         26              One (I)             54 months           57 months          63 to 78 months
         26              Two (II)            71 months           72 months          70 to 87 months
         28              One (I)             72 months           72 months          78 to 97 months

The defense argues that the JSIN data for similarly situated defendants with similar offense levels

and criminal history categories further supports the defendant’s request for a sentence below his

guideline range in the presentence report.

III.         EVALUATION OF 18 U.S.C.A. §3553(a) FACTORS TO DETERMINE A
             REASONABLE SENTENCE.

       A. LAW.

             In fashioning an appropriate sentence, the District Court cannot presume that the Guideline

range is reasonable but rather must also consider the factors enumerated in 18 USC 3553(a) to

determine if an adjustment is warranted. United States v. Booker, 543 U.S. 220, 245-46, 125 S.Ct.

738, 160 L.Ed.2d 621 (2005). 18 U.S.C 3553(a) requires the Court to impose a sentence that is

sufficient, but not greater than necessary and lists factors to be considered in imposing a sentence.



3
    Available at: https://jsin.ussc.gov

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Those factors include: (1) the nature and circumstances of the offense and the history and

characteristics of the defendant; (2) the need for the sentence imposed to reflect the seriousness of

the offense, provide just punishment, afford adequate deterrence to criminal conduct, protect the

public from further crimes of the defendant, provide the defendant with needed training, care or

treatment; (3) the kinds of sentences available; (4) the kinds and range of sentence under the

guidelines; (5) pertinent policy statements by the Sentencing Commission; and (6) “the need to

avoid unwarranted sentence disparities among defendants with similar records who have been

found guilty of similar conduct”, and (7) the need to provide restitution.

       Since Booker and its progeny, the sentencing court may now consider even those mitigating

factors that the advisory guidelines prohibit, e.g., poverty, racial discrimination and humiliation,

drug abuse and addiction, dysfunctional family background, lack of guidance as a youth, etc. See:

United States v. Ranum, 353 F. Supp.2d 984 (E.D. Wisc. 2005) (“the guidelines” prohibition of

considering these factors cannot be squared with the Section 3553(a)(1) requirement that the court

evaluate the “history and characteristics” of the Defendant... thus, in cases in which a Defendant's

history and characteristics are positive, consideration of all of the Section 3553(a)(1) factors might

call for a sentence outside the guideline range”).

   B. PERSONAL HISTORY AND CHARACTERISTICS.

       Anton Davarius Woodley is currently twenty-two (22) years old, however, he was only

eighteen (18) years old at the time of his offense. Mr. Woodley admitted to his conduct in this case

and has expressed sincere remorse for his actions in his statement accepting responsibility.

               “I apologize for my involvement in this and the part that I played. I
               will never get involved with anything like this ever again. I never
               should have even been there that day. I am not the same person that
               I was back then. When working with the counselors at CATS, I have
               learned new life/coping skills that helps me identify high/low risk
               situations and people. I was following the wrong people and was

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                using irrational thinking back then as a teenager. I hope you can see
                that the person I am today is not the same person I was back then
                and before I went to CATS. I know how to use my new thinking
                skills when it comes to accepting constructive criticism and turning
                it into positive core beliefs. I know that I cannot keep doing the same
                things and expecting change. That is why I am trying to show that I
                have changed. I know that I have messed up, but I can guarantee I
                will never be in a situation like that ever again. I want to be a better
                version of myself and I am ready to be the best version of myself. I
                sincerely apologize to [N.R.] for what he went through that night. I
                hope someday he can forgive me.”

(PSR, R. 125, PID 655-6).

       Mr. Woodley has been treated for mental health conditions in the past and believes that he

would benefit from mental health treatment and services. (PSR, R. 125, PID 663). Mr. Woodley’s

brother reported that he believes that Mr. Woodley has undiagnosed mental health issues. Id. at ¶

73. While in residential treatment at CATS from October 7, 2024 to November 6, 2024 for his

cannabis use disorder, Mr. Woodley received individual counseling, group counseling, and drug

testing. Upon Woodley’s successful discharge, he began outpatient treatment. Mr. Woodley’s

brother believes that he was excessively using marijuana to self-medicate. Mr. Woodley came

before the Court and admitted to using marijuana on bond and did request treatment, which shows

his desire to improve his actions. Mr. Woodley believes that his time at CATS was very beneficial

and would like to continue substance abuse treatment, as well as, mental health treatment. He

requests the Court recommend participation in the residential drug treatment program while

incarcerated.

       Mr. Woodley experienced a difficult childhood as documented in his presentence report.

Id. at PID 661-2. The family resided in a neighborhood that was plagued with crime, violence, and

drugs. He has not had any contact with his father since he was 13 years old. Due to the issues

within his neighborhood and at school, Mr. Woodley spent a lot of time in the house, which further

contributed to his drug use and isolation. Mr. Woodley would like to move out of state upon his
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release from custody. He believes that it will be very beneficial for him to start over in a new place

around new people. His brother who lives in Florida indicated to US probation that he would allow

Mr. Woodley to reside with him and his family in Florida upon release. Id. at ¶66.

       While incarcerated in pretrial detention, Mr. Woodley successfully obtained his GED on

February 1, 2024. Mr. Woodley would like to continue his education and was taking classes at

Cuyahoga Community College until he was taken into custody. While incarcerated, he would like

to earn his associates degree in engineering and become a pastor. Mr. Woodley is a young man

who does not have much work experience but he hopes to continue his education and learn various

skills while incarcerated to assist him with becoming gainfully employed so he can support himself

after his release from custody.

       Based upon the foregoing, Mr. Woodley respectfully requests this Honorable Court to give

due consideration to all of his mitigating factors when imposing a reasonable sentence.

IV.    CONCLUSION.

       Anton Woodley respectfully requests that this Honorable Court consider all of the 18

U.S.C. § 3553(a) factors described above and impose a sentence that is sufficient but not greater

than necessary to achieve the statutory goals of sentencing.


                                                      Respectfully Submitted,

                                                      s/ Marisa L. Serrat_________
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 8, 2025, a copy of the foregoing was filed electronically. Notice

of this filing will be sent to all parties by operation of the Court’s electronic filing system. Parties

may access this filing through the Court’s system.

                                                        s/ Marisa L. Serrat_________
                                                        JAIME P. SERRAT LLC
                                                        Marisa L. Serrat, (#0088840)
                                                        Attorney for the Defendant




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